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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

CHAD S. JOHNSON,
                                                     NOTICE OF MOTION FOR
                           Plaintiff,                PLAINTIFF’S MOTIONS IN LIMINE

            v.                                       Case No. 11-cv-2481

SUFFOLK COUNTY, et al.

                           Defendants.


       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, dated

September 13, 2024, and all pleadings and proceeding previously had herein, Plaintiff Chad

Johnson will move this Court before the Honorable Steven I. Locke, United States District Court

Judge at a date and time to be determined by the Court to issue the following in limine rulings:

       1) Excluding all evidence regarding the underlying murder investigation;

       2) Limiting impeachment evidence to avoid undue prejudice;

       3) Permitting Plaintiff to appear before the jury in street clothes and without restraints,

           and;

       4) Precluding Defendants from implying that they will be required to pay any judgment

           against them.

       PLEASE TAKE FURTHER NOTICE that opposition papers, if any, shall be served in

accordance with the Local Rules or the Individual Practices of the Honorable Steven I. Locke.
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Dated: New York, New York
       September 13, 2024



                                           By:

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